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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                                Affirmation in Support of
                                                         Application for Order of
                       v.                                Continuance

 Isis Navarro Reyes,                                      24 Mag. 01686


                            Defendant.


State of New York                            )
County of New York                           : ss.:
Southern District of New York                )

       Brandon C. Thompson, pursuant to Title 28, United States Code, Section 1746, hereby

declares under penalty of perjury:

       1.      I am an Assistant United States Attorney in the Office of Damian Williams, United

States Attorney for the Southern District of New York. I submit this affirmation in support of an

application for an order of continuance of the time within which a preliminary hearing would have

to be conducted or an indictment or information would have to be filed, pursuant to Rule 5.1(d) of

the Federal Rules of Criminal Procedure and 18 U.S.C. § 3161(h)(7)(A).

       2.      The defendant was charged in a complaint dated April 29, 2024, with violations of

21 U.S.C. §§ 353(b); 331(a); 331(c); 331(k) and 18 U.S.C. §§ 371; 545. The defendant was

arrested on May 1, 2024, and was presented in this District before Magistrate Judge Barbara Moses

on that same date, at which proceeding the defendant was represented by Zawadi Baharanyi, Esq.,

and ordered released on bail with certain conditions.

       3.      At the presentment on May 1, 2024, a preliminary hearing was scheduled for May

31, 2024, after defense counsel consented to extend the deadline within which to conduct a
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preliminary hearing. Under the Speedy Trial Act, the Government had until May 31, 2024, within

which to file an indictment or information. See 18 U.S.C. § 3161(b).

        4.      On June 5, 2024, the Honorable Jennifer E. Willis entered an Order of Continuance,

pursuant to Rule 5.1(d) and 18 U.S.C. § 3161(h)(7)(A), extending the time within which a

preliminary hearing would have to be conducted or an indictment or information would have to be

filed in this case until June 30, 2024.

        5. On July 1, 2024, the Honorable Katharine H. Parker entered an Order of Continuance,

pursuant to Rule 5.1(d) and 18 U.S.C. § 3161(h)(7)(A), extending the time within which a

preliminary hearing would have to be conducted or an indictment or information would have to be

filed in this case until July 30, 2024.

        6. On July 30, 2024, the Honorable Gary Stein entered an Order of Continuance, pursuant

to Rule 5.1(d) and 18 U.S.C. § 3161(h)(7)(A), extending the time within which a preliminary

hearing would have to be conducted or an indictment or information would have to be filed in this

case until August 29, 2024.

        7.      Defense counsel and I have had discussions regarding a possible disposition of this

case. The parties plan to continue our discussions, but do not anticipate a resolution before

August 29, 2024.

8.      Therefore, the Government requests a 30-day continuance until September 28, 2024, to

continue the foregoing discussions toward resolving this matter. On August 9, 2024, I personally

spoke with defense counsel, who stated that the defendant consents to an extension of the

preliminary hearing and Speedy Trial Act deadlines to September 28, 2024, and has specifically




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consented to this request. This application has been authorized by Assistant United States Attorney

Andrew Dember, Deputy Chief of the Criminal Division.

       9. For the reasons stated above, good cause supports the extension of the preliminary

hearing deadline, and the ends of justice served by the granting of the requested continuance

outweigh the best interests of the public and defendant in a speedy trial.

Dated: New York, New York
       August 28, 2024


                                              __________________________
                                              Brandon C. Thompson
                                              Assistant United States Attorney
                                              212-637-2444




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